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                    UNITED STATES DISTRICT COURT
                   WESTERN DISTRICT OF WISCONSIN
_____________________________________________________________________

PAINTERS LOCAL 802 PENSION FUND,
PAINTERS LOCAL 802 HEALTH FUND and
PAINTERS LOCAL 802 APPRENTICESHIP FUND
and JEFF MEHRHOFF (in his capacity as Trustee)


                                 Plaintiffs,

      v.                                                   Case No. 20-cv-198

EAGLE RIVER PAINT AND STAIN, LLC,

                Defendant.
_____________________________________________________________________

                              COMPLAINT
_____________________________________________________________________

      NOW COME the Plaintiffs, by their attorneys, The Previant Law Firm S.C, by

Christopher J. Ahrens, and as and for a cause of action against the Defendant, allege

and show to the Court the following:

                               Jurisdiction and Venue

      1.     Jurisdiction of this Court upon Defendant Eagle River Paint and Stain,

LLC., (hereinafter Eagle River), is founded upon section 502 and section 301(a) of the

Labor Management Relations Act of 1947 (hereafter “LMRA”) as amended (29 U.S.C.

§185(a)) of the Employee Retirement Income Security Act of 1974 (“ERISA”) (29 U.S.C.

§ 1132), in that the Plaintiffs are aggrieved by said Defendant’s violation of certain

collective bargaining agreements, trust plans and trust agreements, and said

Defendant’s continued refusal to submit contributions in accordance with the terms of

those plans and agreements, thereby violating provisions of ERISA, the Multi-Employer
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Pension Plan Amendments Act (“MPPAA”), the terms and provisions of the employee

benefit plans, LMRA § 301, and the common law of the State of Wisconsin.

       2.     Venue lies in this Court under ERISA § 502(c)(2) (29 U.S.C. § 1132(e)(2))

in that Plaintiffs are administered at the offices in Waukesha County Wisconsin.

                                            Parties

       3.      Plaintiffs Painters Local 802 Pension Fund, Painters Local 802 Health

Fund and Painters Local 802 Apprenticeship are employee benefit plans within the

meaning of ERISA §§ 3(1), (2), (3) and (37), 502 and 515, as amended by the MPPAA

(codified as amended at 29 U.S.C. §§ 1002(1), (2), (3) and (37), 1132 and 1145), and

bring this action on behalf of the Trustees, participants and beneficiaries of said plans.

Said plans maintain offices at 5375 King James Way, Fitchburg, WI 53719.

      4.      Jeff Mehrhoff is a trustee and beneficiary of the Painters Local 802

Pension Fund and as such he standing to be a plaintiff in this action. Mr. Mehrhoff

maintains offices at 5375 King James Way, Fitchburg, WI 53719 .

       5.     Eagle River, is a foreign corporation, engaged in business, with principal

offices located at 5060 Wilsch Road, Conover, WI 54519. Its registered agent for

service of process if Tyson Fitzpatrick, 2800 East Enterprise Ave., Suite 333, Appleton,

Wisconsin 54913.

                                            Facts

       6.       For all times relevant, Eagle River, was and remains a party to and

agreed to abide by the terms of one or more collective bargaining agreements

(hereinafter “Labor Agreements”) between itself and the Painters’ Union (hereinafter

collectively referred to as “the Unions”)



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       7.     The Labor Agreements described herein contain provisions whereby

Eagle River, agreed to make timely payments to the Plaintiffs’ trust funds for each

employee covered by said Labor Agreements.

       8.     By execution of said Labor Agreements, Eagle River, adopted the trust

agreements and amendments thereof which establish and govern the Plaintiffs and are

necessary for their administration, and designated as its representatives on the Board of

Trustees such trustees as have been named and appointed pursuant to said trust

agreements, together with their successors selected in the manner provided in such

trust agreements, and thereby ratifying all actions already taken or to be taken within

the scope of their authority.

       9.     By virtue of executing the Labor Agreements and adopting and assenting

to all the terms and provisions of the trust agreements, and the rules and regulations

heretofore and hereafter adopted by the trustees of said trust funds, Eagle River, has

agreed as follows:

              a.     to file monthly reports and make timely and prompt contributions to

                     the   Plaintiff   Funds     for   each   employee   covered   by   the

                     aforementioned Labor Agreements;

              b.     to designate, and accept as its representatives, the trustees named

                     in the declaration of trust and their successors;

              c.     to adopt and abide by all of the rules and regulations adopted by

                     the trustees of the Funds pursuant to the trust agreements;

              d.     to adopt and abide by all of the actions of the trustees in

                     administering the Funds in accordance with the trust agreements



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                    and the rules so adopted;

             e.     to pay, in addition to all of the contributions which are due and

                    owing, liquidated damages and interest relative to delinquent

                    contributions; and

             f.     to pay, in addition to delinquent contributions, interest and

                    liquidated damages, actual attorney's fees, audit fees, court costs

                    and service fees, should legal action be necessary to obtain

                    delinquent contributions, interest and liquidated damages.

      10.    Upon information and belief, Eagle River, has failed to perform its

obligations pursuant to the terms and conditions of the Labor Agreements and trust

agreements by, although not necessarily limited to, the following:

             a.     failing to make continuing and prompt payments to the Unions as

                    required by the Labor Agreements and trust agreements for all of

                    Eagle River, covered employees; and

             b.     failing to accurately report employee work status to the Funds.

      11.    ERISA § 502(g)(2), as amended by the MPPAA provides:

              (2) In any action under this title by a fiduciary for or on
             behalf of a plan to enforce section 515 in which a judgment in
             favor of the plan is awarded, the court shall award the plan --

             (A)    the unpaid contributions,

             (B)    interest on the unpaid contributions,

             (C)    an amount equal to the greater of --

                    (i)    interest on the unpaid contributions, or

                    (ii)   liquidated damages provided for under the plan in an amount
                           not in excess of 20 percent (or such higher percentage as

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                             may be permitted under Federal of State law) of the amount
                             determined by the court under subparagraph (A),

               (D)   reasonable attorney's fees and costs of this action, to be paid by
                     the defendant, and

               (E)   such other legal or equitable relief as the court deems appropriate.

For purposes of this paragraph, interest on unpaid contributions shall be determined by

using the rate provided under the plan, or, if none, the rate prescribed under section

6621 of the Internal Revenue Code of 1954.

ERISA § 515 provides:

               Every employer who is obligated to make contributions to a
               multiemployer plan under the terms of the plan or under the
               terms of a collectively bargained agreement shall, to the extent
               not inconsistent with law, make such contributions in accordance
               with the terms and conditions of such plan or agreement.

         12.   Despite demands that Eagle River perform its statutory and contractual

obligations, the Plaintiff Funds have ascertained that said Defendant has failed,

neglected, omitted and refused to make those payments. Eagle River, is now indebted

to the Plaintiff Funds as follows:

Audited Period August 2, 2018 to the present:

Painters Local 802 Pension Fund                                                   Unknown
Painters Local 802 Health Fund                                                    Unknown
Painters Local 802 Apprenticeship Fund                                            Unknown

         13.   Defendant Eagle River has refused to submit to a standard audit by the

representatives of the Plaintiff Funds despite the Funds' authority to perform such an

audit.




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              Claim One - Against Defendant J & L Installations, LLC
            Violation of ERISA §§ 502 and 515 (29 U.S.C. §§ 1132, 1145)

      14.    As and for a first claim for relief against Eagle River, the Plaintiffs reallege

each and every allegation contained in paragraphs 1 through 13 above and incorporate

the same as though fully set forth herein word-for-word.

      15.    Due demand has been made by the Funds upon Eagle River, for payment

of all sums due and owing, but said Defendant has refused to pay them, or any part

thereof, and all amounts remain due and owing.

      16.    Because, as the Funds are informed and believe, Eagle River, has not

made timely and prompt contributions on behalf of all covered employees, the corpus of

each of the Unions' trust funds is reduced, the Unions' income is reduced, and their

ability to pay benefits to qualified participants and beneficiaries is curtailed.

Consequently, ERISA and the Unions' employee benefit plans have been violated, and

the Funds are entitled to all of the remedies provided by ERISA.

      17.    Because Eagle River, has failed to make timely and prompt contributions,

some of the Unions' beneficiaries and participants could have eligibility terminated and

benefits reduced for which they would otherwise qualify.         These beneficiaries and

participants would be left without an adequate remedy at law and would suffer severe

and irreparable harm if said Defendant is not mandatorily compelled to comply with the

Labor Agreements and enjoined from further breaches.

      WHEREFORE, the Unions demand the following relief:

      1.     Judgment on behalf of the Unions and against the Defendant:

             A.     For unpaid contributions, interest and liquidated damages for the

                    period August 2, 2018 to the commencement of this action;

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             B.      For unpaid contributions, interest and liquidated damages

                    becoming due and/or arising after the commencement of this

                    lawsuit through the date of judgment; and

             C.      Actual attorney fees and the costs of this action.

      2.     An order enjoining and restraining the Defendant, its corporate officers,

employees, agents, bonding agents, and/or sureties, attorneys or any other acting on its

behalf from collecting or converting any account receivable which is subject to any lien

the Plaintiffs may have pursuant to section 779.02(5) of the Wisconsin Statutes, for

improvements to and on real estate, until all employee wages and employee benefit

fund contributions which have become due relative to said improvements for which the

receivable was earned have been paid in full and all monies taken from the trust created

by section 779.02(5) of the Wisconsin Statutes have been fully repaid.

      3.     An order requiring Defendant to serve on the Plaintiffs' counsel, within ten

(10) days of the date of said order, a list of Eagle Rivers’ accounts receivable.   With

respect to each account receivable, Defendant shall itemize:

             A.     The amount of each account receivable.

             B.     The period of time during which such receivable accrued.

             C.     The location of the premises upon which the work was performed.

             D.     The owner of the property on which Defendant performed work;

             E.     The individual or entity with whom Defendant was contractually

                    liable to perform work;

             F.     The nature of the improvement involved for which the account

                    receivable is due.



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              G.       The present outstanding amount of wages and fringe benefits still

                       owed for labor on the improvement (itemized by individual and by

                       month on each project or improvement separately).

      4.      An order directing Eagle River, to submit to an audit of the company's

books and records by the Unions' designated representative for the period August 2,

2018 to the present.

      5.      The Court should retain jurisdiction pending compliance with its orders.

      6.      For such other, further or different relief as the Court deems just and

proper.

      Dated this 4th day of March 2020.


                                          s/Christopher J. Ahrens         ________
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